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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                         *          CRIMINAL NO: 20-55

               v.                                *          SECTION: “F” (4)

JASON R. WILLIAMS                                 *
NICOLE E. BURDETT
                                           *      *     *

                           PROPOSED JUROR QUESTIONNAIRE

       This questionnaire is designed to obtain information about your background as it relates to
your possible service as a juror in a criminal case. Its use will avoid the necessity of asking each
prospective juror every one of these questions in open court, thereby shortening the jury selection
process.

       All answers to this questionnaire will be kept confidential. They will be reviewed only by
the Court and by the attorneys on each side. Your identity and your answers will not be released to
anyone else.

       Respond to each question as fully and completely as possible.                We realize the
questionnaire is lengthy but your cooperation is vitally important.

       Because this questionnaire is part of the jury selection process, the questionnaire is to be
answered under your oath as a prospective juror to tell the truth. You must not discuss this case or
the questionnaire with anyone, including your family and fellow jurors.

        If you require additional space for your responses or wish to make further comments regarding
any of your answers, please use the extra sheets at the end.

        Please keep in mind that there are no "right" or "wrong" answers, only complete and
incomplete answers. Complete answers are much more helpful than incomplete answers. Please
do not leave any questions blank. If a question does not apply to you in any way, write "N/A"
rather than leaving the form blank.

1.     Please provide the following information about yourself.

       Name:                   ___________________________________

       Address:                ___________________________________

       Age:                    ___________________________________
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       Gender:               ___________________________________

       Race/Ethnicity:       ___________________________________

       Marital Status:       ___________________________________

       Place of Birth:       ___________________________________

2.     Please state your current occupation, employer, and job responsibilities.

       _______________________________________________________________________

       _______________________________________________________________________

       What other occupations/employers have you had as an adult?

       _______________________________________________________________________

3.     Do you have any training or experience in any of the following areas, or have any of your
       family members or close friends worked in any of the following areas? Please check all
       that apply and explain below.

       ____ Manufacturing
       ____ Sales
       ____ Inventory monitoring
       ____ Accounting
       ____ Bookkeeping
       ____ Auditing
       ____ Banking/Finance
       ____ Financial Planning
       ____ Investment Banking
       ____ Business Management
       ____ Stock or securities analyst/trader/broker
       ____ Tax preparation
       ____ Small business ownership

       If you have training or experience in any of the above areas, please explain what your
       duties are/were and where you work(ed):

       ________________________________________________________________________

       ________________________________________________________________________




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4.     The defendants in this case are Jason Williams, who is the District Attorney for Orleans
       Parish, and Nicole Burdett, who is a lawyer. Have you read or heard anything about
       these individuals?

       Yes _____      No _____

       If yes, please explain, including any opinions you may have about these individuals:
       _______________________________________________________________________

       _______________________________________________________________________

5.     Are you or have you been a constituent of Jason Williams when he was a City
       Councilmen or as the current District Attorney for Orleans Parish?

       Yes _____      No _____

       If yes, please explain, including any opinions you may have about these individuals:
       _______________________________________________________________________

       _______________________________________________________________________

6.     Have you or a close family member ever been a client of Jason Williams or Nicole
       Burdett?

       Yes _____      No _____

       If yes, please explain, including any opinions you may have about these individuals:
       _______________________________________________________________________

       _______________________________________________________________________


7.     If there is evidence of guilt against one defendant, do you think that must make the other
       defendant guilty by association?

       Yes _____      No _____

       If yes, please explain: _____________________________________________________

              _________________________________________________________________

8.     Do you believe that lawyers are experts in every area of the law?

       Yes _____      No _____

       If yes, please explain: _____________________________________________________

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        _______________________________________________________________________

9.      Have you or anyone in your immediate family had a negative experience with a lawyer?

        Yes _____      No _____

        If yes, please explain: _____________________________________________________

        _______________________________________________________________________

10.     Do you believe all politicians are corrupt in some way?

        Yes _____      No _____

        If yes, please explain: _____________________________________________________

        _______________________________________________________________________

11.     One of the defendants in this case is a Black male. Some people recognize that they may
        have a bias with a Black male accused of a criminal offense. If you have feelings that you
        are concerned about, please describe here.

        _______________________________________________________________________

        _______________________________________________________________________

12.     Do you read publications that focus on business news or watch business shows on
        television or listen to them on radio or the internet?

        Yes _____      No _____

        If yes:

        Business publications or news sections: _______________________

        Business television shows: _________________________________

        Business radio shows: _____________________________________

        Internet business sites: _____________________________________

13.     Have you or anyone in your immediate family ever been self-employed or owned a
        business?

        Yes _____      No _____

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        If yes, is this: Yourself? Spouse? Child? Family? Friend?

        a. Are you/they still operating the business? Yes _____   No _____

       If no, why not?

       b. Please describe the business:

       c. Was this experience positive ____, negative _____, or mixed ____?

       Please explain: __________________________________________

14.     Have you or anyone you know ever had any negative experiences with an accountant, a
        tax advisor, or the IRS?

        Yes _____        No _____

        If yes, please explain: _____________________________________________________

15.     Have you ever been involved with an audit of financial records for a company you
        worked for? (This could include an IRS audit or an audit by internal or external
        accountants.)

        Yes _____        No _____

        If yes, please explain: _____________________________________________________

        _______________________________________________________________________

16.     Have you ever been involved in an audit of your personal finances?

        Yes _____        No _____

        If yes, please explain: _____________________________________________________

        _______________________________________________________________________

17.     Have you or anyone you know ever worked in any of the following agencies or
        departments:

            Agency                     Circle all that apply                  Explain
 U.S. Attorney’s Office               Self Spouse Family
                                          Friend Other
 District Attorney’s or               Self Spouse Family
 Prosecutor’s Office                      Friend Other

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 U.S. Department of Justice           Self  Spouse Family
                                          Friend Other
 Courts/Judicial System               Self Spouse Family
                                          Friend Other
 FBI                                  Self Spouse Family
                                          Friend Other
 Police Department or Sheriff’s       Self Spouse Family
 Office                                   Friend Other
 DEA                                  Self Spouse Family
                                          Friend Other
 INS                                  Self Spouse Family
                                          Friend Other
 Postal Inspection Service            Self Spouse Family
                                          Friend Other
 State Department of Revenue          Self Spouse Family
                                          Friend Other
 Department of Homeland               Self Spouse Family
 Security                                 Friend Other
 IRS                                  Self Spouse Family
                                          Friend Other

18.     Do you have any problem with the legal proposition that the prosecutor must prove that a
        defendant is guilty beyond a reasonable doubt, or he or she must be found not guilty?

        Yes _____     No _____

        Please explain: ___________________________________________________________

        _______________________________________________________________________

19.     Do you have any problem with the legal proposition that a defendant must be presumed
        innocent unless and until the prosecution can prove he or she is guilty?

        Yes _____     No _____

        Please explain: ___________________________________________________________

        _______________________________________________________________________

20.     Do you have any difficulty presuming that Mr. Williams and Ms. Burdette are innocent
        right now?

        Yes _____     No _____

        If yes, please explain: _____________________________________________________


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        _______________________________________________________________________

21.     Under the law, every defendant has the constitutional right to not testify in his or her own
        defense. If a defendant does not testify, the jury may not consider that fact in any way in
        reaching a decision as to whether the defendant is guilty or not guilty. If a defendant
        does not testify, would you be able to find him or her not guilty if the prosecution does
        not prove its case?

        Yes _____      No _____

        If yes, please explain: _____________________________________________________

        _______________________________________________________________________

22.     Have you or your spouse, an immediate family member, or close friend ever been
        stopped, questioned, or arrested by a law enforcement officer?

        Yes _____      No _____



23.     Did you feel that you or the person you knew was treated fairly or unfairly?

        Fairly _____           Unfairly _____

        Please describe the experience:



24.     If there is anything else that you believe the Court or the parties should know about you,
        your attitudes, opinions, experiences, please explain here:

        _______________________________________________________________________

        _______________________________________________________________________




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